







		NO. 12-08-00384-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



MIGUEL LOPEZ,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE GARBAGE MAN, INC. D/B/A

THE G-MAN, INC., GARY HAWLEY,

DAVID MUNOZ, ANTHONY JOHNSON,§
	SMITH COUNTY, TEXAS

AND LORETTA AYRES,

APPELLEES





MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b).
Appellant perfected his appeal on September 24, 2008.  Thereafter, the reporter's record was
filed on November 24, 2008, making Appellant's brief due on or before December 29, 2008. 
When Appellant failed to file his brief within the required time, this court notified him on
January 16, 2009 that the brief was past due and warned that if no motion for extension of
time to file the brief was received by January 26, 2009, the appeal would be dismissed for
want of prosecution under Texas Rule of Appellate Procedure 42.3(c).  The notice further
informed Appellant that the motion for extension of time must contain a reasonable
explanation for his failure to file the brief and a showing that Appellees had not suffered
material injury thereby.

	To date, Appellant has neither complied with or otherwise responded to this court's
January&nbsp;16, 2009 notice.  Accordingly, we dismiss the appeal for want of prosecution.  See
Tex. R. App. P. 38.8(a)(1), 42.3(b).

Opinion delivered February 11, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


